                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

  Robert Jones,                                 )
                                                )
                    Plaintiff,                  )
                                                )   Case no. 1:24-cv-03168
                                                )
             v.                                 )
                                                )   The Honorable LaShonda A. Hunt
  State of Illinois, et al.,                    )
                                                )
                    Defendants.                 )

         DEFENDANTS’ REPLY IN FURTHER SUPPORT OF MOTION TO DISMISS

        The defendants, Latoya Hughes solely in her official capacity as Acting

Director of the Illinois Department of Corrections and Anthony Willis in his official

capacity as warden of Menard Correctional Center—and individual capacity for

purposes of this Motion—by their attorney, Kwame Raoul, Attorney General of

Illinois, hereby reply in further support of their motion to dismiss as follows:

        1.        On November 20, 2024, Defendants moved to dismiss, arguing improper

venue, failure to state a claim, and lack of subject-matter jurisdiction. (ECF No. 21.)

        2.        On November 21, 2024, the Court entered a briefing schedule. (ECF No.

23.)

        3.        Plaintiff’s response was due fourteen days ago on December 19, 2024.

(Id.)

        4.        Plaintiff failed to file any response to any arguments raised in the

motion to dismiss, and has failed to move for an extension. Accordingly, any

counterarguments are waived or forfeited. See Williams v. Doyle, 494 F.Supp.2d 1019,

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1024 (W.D. Wis. 2007) (plaintiff forfeited claims by failing to respond to defendant's

arguments relating to those claims in defendant’s motion to dismiss); Wojtas v.

Capital Guardian Trust Co., 477 F.3d 924, 926 (7th Cir. 2007) (failure to oppose

constitutes a waiver); Kirksey v. R.J.Reynolds Tobacco Co., 168 F.3d 1039, 1041 (7th

Cir. 1999) (plaintiff defaulted when he failed to respond to arguments raised in

motion to dismiss).

      5.     Due to Plaintiff’s failure to respond, Defendants’ motion to dismiss is

unopposed and should be granted.

Date: January 2, 2025


                          Respectfully submitted,

                          KWAME RAOUL
                          Attorney General of Illinois

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